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               Exhibit 10
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   Queues build at Lebanese banks reopening after one-
   week closure
   By Reuters Staff                                                                                  2 MIN READ
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BEIRUT (Reuters) - Queues built as Lebanese banks reopened on Tuesday after a one-week
closure, with police deployed at branches and banks imposing tight restrictions on hard currency
withdrawals and transfers abroad.


Banks have mostly been closed since protests erupted against Lebanon's ruling elite on Oct. 17.
They reopened after a two-week closure on Nov. 1, but shut again a week later because of a strike
by staff who complained of intimidation from clients demanding their cash.


Seeking to avoid capital flight, the Association of Banks in Lebanon announced on Sunday that
cash withdrawals would be limited to $1,000 a week and transfers abroad would be restricted to
urgent personal spending only.



The central bank has said deposits are safe and that it has the capacity to maintain the value of the
Lebanese pound, which is pegged to the U.S. dollar.


In Beirut's Hamra area, around 50 people were waiting at a branch of Blom Bank shortly after it
opened, a witness said.


In the Sodeco area of the capital, about 20 people each were waiting at another branch of Blom
Bank and at a branch of Bank Audi, a witness said.



"Everyone has a lack of trust, there's a state of panic, and people's feelings are justifiable because
no one is giving them any trust," said a customer at the bank, who declined to give his name.


In the southern city of Sidon, around 50 people were waiting at a branch of Blom Bank ahead of
opening, a witness said.

Reporting by Tom Perry, Nadine Asvadailah, Imad carat in Beirut All Hashisho in Sidon; Editing by Catherine Evans


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